
*995ORINIOET.
Morris:
The petitioners do not dispute the correctness of the over-assessments for 1920 and 1922 or the deficiencies for 1919, 1921 and 1923. The only question raised is the refusal of the Commissioner to credit the overpayment for 1918 against the deficiencies for those years. The Commissioner contends that the Board has no jurisdiction to consider the year 1918, as his final determination for the year took place in October, 1924, and that he is without authority to refund the taxes paid in 1919 for 1918, as the purported waiver signed by one of the executors subsequent to the expiration of the period allowed by law for making assessment of taxes for the year for which such waiver was given may not, under the laws of California, be considered a valid waiver on which the allowance of a claim for refund may be based. The petitioners contend that the final determination was made by the Commissioner in his letter of March 3, 1925, that under the Appeal of E. J. Barry, 1 B. T. A. 156, and kindred appeals, the Board has jurisdiction of 1918, that the waiver of May 5, 1924, was valid, as the executors and heirs of the estate of R. B. Cranston were the same persons, and that therefore the over-*996assessment for 1918 should be credited against the net deficiency of $2,487.24.
It is unnecessary for us to go into the various questions raised by the parties to this proceeding. We have no jurisdiction over the year 1918, even though the Commissioner’s final determination as to that year is contained in the deficiency letter of March 3, 1925. Appeal of Cornelius Cotton Mills, 4 B. T. A. 255. As to how an overassessment for any taxable year should be applied is a matter of administrative policy which we have previously held is no part of our duty to decide. Appeal of Cleveland Home Brewing Co., 1 B. T. A. 87; Appeal of Dickerman &amp; Englis, Inc., 5 B. T. A. 633. In the latter appeal we further held that whether credit or refund is barred by the period of limitation provided by the statute is beyond our jurisdiction. It follows, therefore, that the determination of the Commissioner must be approved.
Judgment will ~be entered for the Commissioner on 10 days' notice, under Buie 50.
